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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                       CASE NO.: 0:22-CV-61842

   DONALD J. TRUMP,

           Plaintiff,

   v.

   CABLE NEWS NETWORK, INC.,

         Defendant.
   ______________________________/

             AGREED ORDER ON JOINT MOTION FOR BRIEFING SCHEDULE

           THIS CAUSE came before the Court on the Joint Motion for Briefing Schedule (the

   “Motion”) by Defendant CABLE NEWS NETWORK, INC. (“CNN”), jointly with Plaintiff

   Donald J. Trump (“Plaintiff” or “Trump”) [D.E. ___]. The Court having considered the Motion,

   the agreement of counsel for the respective parties, and being otherwise duly advised in the

   premises, it is hereupon

           ORDERED and ADJUDGED that the Motion is GRANTED. CNN shall have through

   and including November 22, 2022 within which to file a response to Plaintiff’s Complaint.

   Plaintiff shall have through and including December 30, 2022 in which to file a response to

   CNN’s anticipated Rule 12 motion. CNN shall have through and including January 18, 2022 in

   which to file a reply to Plaintiff’s response.

           DONE and ORDERED in Chambers at Fort Lauderdale, Florida this ___ day of October,

   2022.

                                                    ____________________________________
                                                    HONORABLE RAAG SINGHAL
                                                    UNITED STATES DISTRICT COURT JUDGE
